                                        Case 15-81119                      Doc          Filed 01/08/20               Page 1 of 5
 Fill in this information to identify the case:

 Debtor 1          Jacquelyn   Yvonne Oakley
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Middle DistrictDistrict
                                         __________      of North    Carolina
                                                                 of __________

 Case number           15-81119
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: U.S. Bank Trust National Association, as Trustee of the Bungalow Series III Trust
                   _______________________________________                                                                           4-1
                                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                                  Date of payment change:
 identify the debtor’s account:                                   4
                                                                  ____ 7
                                                                       ____ 4
                                                                            ____ 3
                                                                                 ____                    Must be at least 21 days after date       02/01/2020
                                                                                                                                                   _____________
                                                                                                         of this notice


                                                                                                         New total payment:                                338.20
                                                                                                                                                   $ ____________
                                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                     133.72
                   Current escrow payment: $ _______________                                           New escrow payment:                   133.12
                                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:              _______________%                                New interest rate:          _______________%

                   Current principal and interest payment: $ _______________                           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                                         New mortgage payment: $ _______________


Official Form 410S1                                                    Notice of Mortgage Payment Change                                                    page 1
                                      Case 15-81119                    Doc         Filed 01/08/20           Page 2 of 5


Debtor 1         Jacquelyn     Yvonne Oakley
                 _______________________________________________________                       Case number             15-81119
                                                                                                               (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û/S/ Michelle R. Ghidotti-Gonsalves
     _____________________________________________________________
     Signature
                                                                                               Date     01/08/2020
                                                                                                        ___________________




 Print:             Michelle  R. Ghidotti-Gonsalves
                    _________________________________________________________                  Title   Authorized Agent for Secured Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name        Last Name



 Company            Ghidotti-Berger,   LLP.
                    _________________________________________________________



 Address            1920  Old Tustin Avenue
                    _________________________________________________________
                    Number                 Street

                    Santa Ana                        CA     92705
                    ___________________________________________________
                    City                                               State        ZIP Code



 Contact phone      949-427-2010
                    ________________________                                                            bknotifications@ghidottiberger.com
                                                                                               Email ________________________
                           Case 15-81119                  Doc          Filed 01/08/20                Page 3 of 5
                                                                                                                                PAGE 1 OF 2

                                                                                                            Annual Escrow Account
                                                                                                             Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                                 ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                                      1461964743_ESCROWDISCSTMT_191230

                                                                                        DATE: 12/30/19


              JACQUELYN YVONNE OAKLEY                                                  PROPERTY ADDRESS
              412 PERSON ST                                                            412 PERSON ST
              OXFORD, NC 27565                                                         OXFORD, NC 27565



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 02/01/2020
THROUGH 01/31/2021.
            -------- ANTICIPATED PAYMENTS FROM ESCROW 02/01/2020 TO 01/31/2021 ---------
HOMEOWNERS INS                                                    $743.00
COUNTY TAX                                                        $854.47
TOTAL PAYMENTS FROM ESCROW                                     $1,597.47
MONTHLY PAYMENT TO ESCROW                                         $133.12
          ------ ANTICIPATED ESCROW ACTIVITY 02/01/2020 TO 01/31/2021 ---------
                   ANTICIPATED PAYMENTS                                                              ESCROW BALANCE COMPARISON
MONTH         TO ESCROW              FROM ESCROW                  DESCRIPTION                 ANTICIPATED                   REQUIRED

                                                          STARTING BALANCE -->                  $763.93                      $532.51
FEB               $133.12                                                                       $897.05                      $665.63
MAR               $133.12                                                                     $1,030.17                      $798.75
APR               $133.12                                                                     $1,163.29                      $931.87
MAY               $133.12                                                                     $1,296.41                    $1,064.99
JUN               $133.12                                                                     $1,429.53                    $1,198.11
JUL               $133.12                                                                     $1,562.65                    $1,331.23
AUG               $133.12                    $854.47 COUNTY TAX                                 $841.30                      $609.88
SEP               $133.12                                                                       $974.42                      $743.00
OCT               $133.12                                                                     $1,107.54                      $876.12
NOV               $133.12                    $743.00 HOMEOWNERS INS                      L1->   $497.66               L2->   $266.24
DEC               $133.12                                                                       $630.78                      $399.36
JAN               $133.12                                                                       $763.90                      $532.48
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS GREATER THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SURPLUS. YOUR ESCROW SURPLUS IS $231.42.
                                              CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                              $205.08
ESCROW PAYMENT                                                                               $133.12
NEW PAYMENT EFFECTIVE 02/01/2020                                                             $338.20
YOUR ESCROW CUSHION FOR THIS CYCLE IS $266.24.




                                        ********** Continued on reverse side ************




                          IF YOUR SURPLUS IS $50 OR GREATER, BSI FINANCIAL SERVICES WILL
                          SEND YOU A REFUND CHECK, PROVIDED YOUR LOAN IS CURRENT.

                          IF YOUR SURPLUS IS LESS THAN $50, THE FUNDS WILL REMAIN IN
                          YOUR ESCROW ACCOUNT.




Licensed as Servis One, Inc. dba BSI Financial Services. BSI Financial Services NMLS# 38078. Colorado Office Location: 7200 S. Alton Way, Ste.
B180, Centennial, CO 80112 (303) 309-3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs, (#
2001485-DCA). North Carolina Collection Agency Permit (# 105608).
                                          Case 15-81119                                   Doc                Filed 01/08/20                               Page 4 of 5
                                                                                                                                                                                                  PAGE 2 OF 2

                                                                  ********** Continued from front **********


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 08/01/2019 AND ENDING 07/31/2020. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.
   YOUR PAYMENT BREAKDOWN AS OF 08/01/2019 IS:
   PRIN & INTEREST                                                                                                                           $205.08
   ESCROW PAYMENT                                                                                                                            $130.28
   BORROWER PAYMENT                                                                                                                          $335.36
                       PAYMENTS TO ESCROW                                       PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                     ACTUAL                     DESCRIPTION                  PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                          $1,302.91                           $713.37-
   AUG                  $130.28                     $133.72        *               $854.47                                        COUNTY TAX                                  $578.72                           $579.65-
   SEP                  $130.28                     $133.72        *                                                                                                          $709.00                           $445.93-
   OCT                  $130.28                     $133.72        *                                                                                                          $839.28                           $312.21-
   NOV                  $130.28                     $133.72        *               $709.00                               HOMEOWNERS INS                            T->        $260.56              A->          $921.49-
   NOV                                                                                                         $743.00 * HOMEOWNERS INS
   DEC               $130.28                     $133.72 *                                                                                                                    $390.84                           $787.77-
   JAN               $130.28                       $0.00                                                                                                                      $521.12                           $787.77-
   FEB               $130.28                       $0.00                                                                                                                      $651.40                           $787.77-
   MAR               $130.28                       $0.00                                                                                                                      $781.68                           $787.77-
   APR               $130.28                       $0.00                                                                                                                      $911.96                           $787.77-
   MAY               $130.28                       $0.00                                                                                                                    $1,042.24                           $787.77-
   JUN               $130.28                       $0.00                                                                                                                    $1,172.52                           $787.77-
   JUL            __________
                     $130.28                  __________
                                                   $0.00                     __________                  __________                                                         $1,302.80                           $787.77-
                    $1,563.36                       $668.60                   $1,563.47                     $743.00


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $260.56. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $921.49-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

  Determining your Shortage or Surplus

    .
  Shortage:

    .
  Any shortage in your escrow account is usually caused by one the following items:

    .
     An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
     A projected increase in taxes for the upcoming year.
     The number of months elapsed from the time of these disbursements to the new payment effective date.
  Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
  shortage can be paid either partially or in full.

    .
  Surplus:

    .
  A surplus in your escrow account is usually caused by one the following items:

    .
      The insurance/taxes paid during the past year were lower than projected.
      A refund was received from the taxing authority or insurance carrier.
      Additional funds were applied to your escrow account.
  If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
  run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
  your escrow account.




If you have filed a bankruptcy petition and there is either an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we
may not and do not intend to pursue collection of that obligation from you personally. If these circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally.
Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired
                     Case 15-81119     Doc    Filed 01/08/20      Page 5 of 5




                                                          V
                   , 2 2 , I se ved the fo egoi g doc me ts desc ibed s Notice of Mo tg ge P me t
Ch ge o the followi g i divid ls b elect o ic me s th o gh the Co t’s ECF p og m:
       C UNSEL F R DEBT R
       Do ld D. Pe ge so
       dpe ge so @ hoo.com


        I decl e    de pe lt of pe j    de the l ws of the U ited St tes of Ame ic th t the
fo egoi g is t e    d co ect.
                                                    /s/ K s S dj di
                                                    K s S dj di




                   , 2 2 , I se ved the fo egoi g doc me ts desc ibed s Notice of Mo tg ge P me t
Ch ge o the followi g i divid ls b depositi g t e copies the eof i the U ited St tes m il t S t
A , C lifo i e closed i se led e velope, with post ge p id, dd essed s follows:


                                                    US
    quelyn Yvonne     kley                        i h rd M. Hutson, II
 412 Person St.                                  Ch pter 13 ffi e
  xford, NC 27565                                3518 Westg te rive
                                                 Suite 400
                                                   urh m, NC 27707


        I decl e    de pe lt of pe j    de the l ws of the U ited St tes of Ame ic th t the
fo egoi g is t e    d co ect.
                                                    /s/ K s S dj di
                                                    K s S dj di
